      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 1 of 10



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                           FOR THE DISTRICT OF ARIZONA
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 9   HKB Inc., an Arizona corporation doing          No. CV-16-03799-PHX-DJH
     business as Southwest Industrial Rigging,       No. CV-17-00198-PHX-DJH
10
                         Plaintiff,                  ORDER
11
     v.
12
     Board of Trustees for the Southwest
13   Carpenter’s Southwest Trust, et al.,
14                       Defendants.
15
     Board of Trustees for the Southwest
16   Carpenter’s Southwest Trust, et al.,
17                       Consolidated Action
                         Plaintiffs,
18
     v.
19
     HKB Inc., an Arizona corporation doing
20   business as Southwest Industrial Rigging,
     et al.,
21
                         Consolidated Action
22                       Defendants.
23
24
25         This matter is before the Court on Defendants’ Motion to Dismiss Pursuant to
26   FRCP 12(b)(3), (6), (7), or, In the Alternative, to Stay Action (Doc. 14). Plaintiff HKB,
27   Inc. has filed an Opposition to Motion to Dismiss or Stay the Action (Doc. 19) and
28   Defendants have filed a Reply (Doc. 20).
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 2 of 10



 1   I. Background
 2          A. Arizona Action
 3          Plaintiff initiated this action by filing a Complaint for Declaratory Judgment (Doc.
 4   1) on November 2, 2016. Plaintiff is a corporation duly incorporated under Arizona law
 5   with its principal place of business in Phoenix.       Plaintiff filed the action because
 6   “Defendants have, through multiple letters, asserted that Plaintiff owes Defendants an
 7   amount exceeding $493,643; Defendants claim this amount is owed by Plaintiff pursuant
 8   to a purported contract which is unenforceable against Plaintiff.” (Doc. 1 at 2).1 Plaintiff
 9   asserts that Defendant Carpenters Southwest Administrative Corporation is a California
10   Corporation, and Defendant Board of Trustees for the Carpenters Southwest Trusts is the
11   acting trustee for Southwest Carpenters Health and Welfare Trust, Southwest Carpenters
12   Pension Trust, Southwest Carpenters Vacation Trust, and Southwest Carpenters Training
13   Fund. (Doc. 1 at 1).
14          For its factual allegations, Plaintiff alleges that the Southwest Regional Council of
15   Carpenters (the “Union”) is a labor organization with offices in various western cities.
16   (Doc. 1 at 2). Plaintiff contends that on August 22, 2013, Tom Allen, an employee of
17   Plaintiff, and the Union signed a Memorandum Agreement that purported to specify
18   certain conditions regarding Plaintiff’s hiring of Union workers. (Id.). Plaintiff asserts
19   that Mr. Allen, who was “only a salesman for Plaintiff,” did not have authority to sign
20   such documents for Plaintiff and Plaintiff made that known to Mr. Allen before he signed
21   the Memorandum Agreement. (Id.). Plaintiff further alleges the Union had no reason to
22   believe Mr. Allen was authorized to sign the Memorandum Agreement. (Id.). Plaintiff
23   also alleges that after Mr. Allen signed the Memorandum Agreement, of which Plaintiff
24   was initially unaware, Plaintiff reiterated to Mr. Allen that he did not have authority to
25   bind Plaintiff by signing such contracts on Plaintiff’s behalf. (Doc. 1 at 2-3). The
26
27          1
               The Court’s citations to attachments and/or page numbers of filed documents
     correspond to the attachment numbers and/or page numbers generated by the district
28   court's electronic filing system, not pre-printed attachment numbers and page numbers on
     the original documents.

                                                -2-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 3 of 10



 1   Memorandum Agreement purports to incorporate by reference other documents that were
 2   never provided to Mr. Allen or Plaintiff. (Doc. 1 at 3).
 3          Plaintiff states in the Complaint that it performs construction-related maintenance
 4   and repair work at the Palo Verde Nuclear Generating Station (the “Power Plant”) twice a
 5   year for 4-6 weeks each time. (Doc. 1 at 3). Plaintiff had previously used carpenters
 6   provided by the Union to perform some of its work at the Power Plant but had never been
 7   required to sign the Memorandum Agreement or similar document. (Id.). Even after Mr.
 8   Allen signed the Memorandum Agreement, and while Plaintiff was still unaware he had
 9   done so, Plaintiff used Union carpenters to perform work at the Power Plant. (Id.). As it
10   had done in the past, Plaintiff paid Defendants for all services that were rendered by the
11   Union carpenters, including payment into funds for the carpenters’ health care, training,
12   vacation, and pensions. (Id.).
13          Plaintiff alleges that beginning in November 2015, several years after Plaintiff first
14   began hiring Union carpenters and more than two years after Mr. Allen signed the
15   Memorandum Agreement, “Defendants purported to perform an ‘audit’ regarding
16   Plaintiff’s payments to Defendant.” (Doc. 1 at 3). Based on the audit, Defendants
17   demanded that Plaintiff make additional payments of more than $490,000 for various
18   health care, training, vacation, and pension funds.          (Id.).   Plaintiff alleges that
19   Defendants’ demand was not based on work performed by the Union carpenters but was
20   instead based solely on work performed by Plaintiff’s own employees, who were not
21   members of or affiliated with the Union. (Id. at 3-4). According to Plaintiff, Defendants
22   claimed that one of the documents incorporated into the Memorandum Agreement
23   required Plaintiff to pay into Defendants’ health care, training, vacation, and pension
24   funds for all work performed by Plaintiff’s employees, even though Plaintiff’s employees
25   were not Union members and received no Union benefits. (Id. at 4). Plaintiff alleges that
26   during the time it used Union carpenters, Defendant never notified Plaintiff it was liable
27   for any of the payments Defendant ultimately demanded as a result of the audits. (Id.).
28          Based on these factual allegations, Plaintiff asserts three claims for relief. In its


                                                 -3-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 4 of 10



 1   first claim, Plaintiff alleges there is no binding agreement. (Doc. 1 at 4-5). Plaintiff
 2   contends that because Mr. Allen had no authority to execute the Memorandum
 3   Agreement on Plaintiff’s behalf, the agreement is not enforceable and Plaintiff is not
 4   bound by its terms.
 5          In the second claim, Plaintiff alleges that pursuant to the doctrine of reasonable
 6   expectations, Plaintiff is not liable for the payments Defendants are claiming. Plaintiff
 7   contends it had no reasonable expectation “that by hiring Union contractors for temporary
 8   work at the Power Plant[,] Plaintiff would be required to pay Defendants’ health care,
 9   training, vacation, and pension funds for all work performed year round by Plaintiff’s
10   full-time permanent employees.” (Doc. 1 at 5). Plaintiff also alleges that its prior course
11   of business with Defendants was such that Plaintiff had no reasonable expectation of the
12   payments now demanded by Defendants.
13          In its third claim for relief, Plaintiff contends that Defendants’ request for
14   compensation is time-barred. (Doc. 1 at 6). Plaintiff alleges that Arizona’s statute of
15   limitations pertaining to employment claims, which provides for a one-year limitations
16   period, governs here. Plaintiff contends that Defendants “have known or should have
17   known for at least three years” that Plaintiff was not paying the amounts it allegedly
18   owed. As a result, according to Plaintiff, Defendants’ pursuit of these payments is barred
19   by A.R.S. § 12-541.
20          As noted above, Plaintiff requests declaratory relief.       Plaintiff first seeks a
21   declaration that the Memorandum Agreement and its accompanying documents are not
22   enforceable against Plaintiff. Plaintiff also seeks a declaration that Plaintiff’s purported
23   obligation to pay Defendants’ health care, training, vacation, and pension funds for work
24   performed by Plaintiff’s full-time permanent employees is unenforceable because it
25   exceeds Plaintiff’s reasonable expectations.      Plaintiff also seeks a declaration that
26   Defendants’ claim for payments is barred by the applicable statute of limitations and that
27   Plaintiff has no present or future obligations under the Memorandum Agreement. Lastly,
28   Plaintiff seeks attorney fees and costs as permitted by law.


                                                 -4-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 5 of 10



 1          B. California Action
 2          Shortly before Plaintiff HKB, Inc. filed the instant action, Defendants filed an
 3   action against HKB, Inc., and three of its employees, in the Central District of California.
 4   (Doc. 23-1). On January 17, 2017, the Central District of California Court granted HKB,
 5   Inc.’s motion to transfer that action to the District of Arizona. (Doc. 23-1 at 10). The
 6   California Court summarized the case as follows:
 7                 Plaintiffs filed this action seeking ERISA benefit contributions
 8          allegedly owed under a collective bargaining agreement (“CBA”).
            (Complaint, Docket No. 1, ¶ 1). Defendant HKB, Inc., doing business as
 9          Southwest Industrial Rigging, is alleged to have executed a collective
10          bargaining agreement with the Southwest Regional Council of Carpenters
            (“SWRCC”), a union, in 2013. (Id. ¶ 15). The CBA and attached
11          agreements provided that Plaintiffs would become signatories and
12          administrators for various trust agreements and funds, which granted the
            union members certain benefits. (Id. ¶¶ 15-20). As relevant here, the
13          agreements each contained forum selection clauses stating that all litigation
14          related to the agreements would take place in Los Angeles County,
            California. (Declaration of Daniel M. Shanley, Docket No. 17, Ex. 2).
15
                   For three years after the CBA was signed, Defendant HKB used the
16          services of SWRCC-represented carpenters and filed required reports with
17          Plaintiffs concerning hours worked by such carpenters. (Declaration of
            Richard Watanabe, Docket No. 16-1, ¶¶ 5, 6). In 2016, Plaintiffs audited
18          HKB’s contributions to the various trust funds and found the payments
19          delinquent. (Id. ¶ 4). In response to a demand letter sent by Plaintiffs after
            the audit, HKB asserted that the person who had signed the CBA on behalf
20          of HKB did not have the authority to do so, and that HKB had never known
21          about the agreements. (Shanley Decl., Ex. 5). After HKB refused to make
            any further payments, this action followed.
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     (Doc. 23-1 at 3). The Court explained that after the California action was filed, “HKB
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     filed suit in Arizona federal court seeking to have the CBA invalidated on state law
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     grounds.” (Id.).
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            The Court considered several factors in deciding whether to transfer the California
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     action to Arizona including the plaintiffs’ choice of forum, convenience to the parties and
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     witnesses, expense of litigation, familiarity with governing law, and the forum selection
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     clause. (Doc. 23-1 at 6-10). The Court determined that “transfer is appropriate here


                                                -5-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 6 of 10



 1   because the Arizona District Court is the most appropriate forum to determine the [sic] all
 2   the issues here, including whether the CBA was ratified and whether Arizona law
 3   applies.” (Doc. 23-1 at 10).
 4          After the California action was transferred to Arizona, this Court granted HKB,
 5   Inc.’s motion to consolidate the two actions. (Doc. 29). The Court found consolidation
 6   was warranted because both actions involve common questions of law and fact and
 7   because Defendants did not oppose the motion. (Id.)
 8   II. Motion to Dismiss
 9          Defendants seek dismissal of Plaintiff HKB, Inc.’s Complaint pursuant to Fed. R.
10   Civ. P. 12(b)(3) – improper venue, 12(b)(6) – failure to state a claim, and 12(b)(7) –
11   failure to join a party under Rule 19. Defendants argue that that this action should be

12   stayed and/or dismissed on four grounds. First, they argue this action violated the “first

13   to file rule” recognized by the Ninth Circuit, which mandates that the issues be heard in

14   the California action. (Doc. 14 at 2). Second, Defendants contend Plaintiff failed to join

15   the Union, a necessary party under Rule 19.          (Id.).   Third, Defendants argue that

16   Plaintiff’s state law contract claims are preempted by the Labor Management Relations
     Act (“LMRA”), 29 U.S.C. § 185, because federal law controls the interpretation of labor
17
     agreements. (Id.). Fourth, Defendants contend that the forum selection clause in the
18
     agreement between Plaintiff and the Union requires that any lawsuits be filed in state or
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     federal court in Los Angeles, California. (Id.).
20
            In Plaintiff’s Notice of California Court Ruling Re: Venue (Doc. 23), Plaintiff
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     asserts that the decision by the Central District of California disposed of two of
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     Defendants’ arguments to stay or dismiss this action, specifically, their argument based
23
     on the first to file rule and their forum selection clause argument. The Court agrees. The
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     decision transferring the California action to Arizona renders those arguments moot.2
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     This Court will not re-visit the California Court’s ruling that the District of Arizona is the
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     most appropriate forum to decide the issues presented by these consolidated cases.
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              Moreover, because the California Court has ruled and transferred the California
     case to Arizona, Defendants’ alternative request to stay this action is also rendered moot.

                                                 -6-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 7 of 10



 1   Accordingly, the Court here will only consider two of Defendants’ arguments in their
 2   motion to dismiss: first, whether the case should be dismissed because Plaintiff failed to
 3   join an indispensable party under Rule 19 and second, whether Plaintiff’s claims should
 4   be dismissed because they are preempted by federal law.
 5          A. Failure to Join Indispensable Party
 6          Rule 12(b)(7) of the Federal Rules of Civil Procedure allows a party to seek
 7   dismissal of a case for “failure to join a party under Rule 19.” Rule 19 requires a three-
 8   step inquiry:
 9
                     1. Is the absent party necessary (i.e., required to be joined if
10                   feasible under Rule 19(a)?

11                   2. If so, is it feasible to order that the absent party be joined?

12                   3. If joinder is not feasible, can the case proceed without the
                     absent party, or is the absent party indispensable such that the
13                   action must be dismissed?

14   Salt River Project Agr. Imp. And Power Dist. v. Lee, 672 F.3d 1176, 1179 (9th Cir. 2012)
15   (citing EEIC v. Peabody W. Coal Co., 400 F.3d 774, 779-80 (9th Cir. 2005)). “The
16   failure to join a party under Rule 19 can only lead to dismissal of a suit where the court

17   cannot obtain jurisdiction over the necessary party and that party is determined to be

18   indispensable to the action.” Camacho v. Major League Baseball, 297 F.R.D. 457, 460

19   (S.D.Cal. 2013). “‘The Ninth Circuit has held that a court should grant a 12(b)(7) motion

20   to dismiss only if the court determines that joinder would destroy jurisdiction and the

21   nonjoined party is necessary and indispensable.’” Id. (quoting Biagro W. Sales Inc. v.
     Helena Chem. Co., 160 F.Supp.2d 1136, 1141 (E.D.Cal. 2001). In a Rule 12(b)(7)
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     motion to dismiss, the moving party bears the burden to produce evidence in support of
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     the motion. Id. at 460-461; Village of Hotvela Traditional Elders v. Indian Health
24
     Services, 1 F.Supp.2d 1022, 1025 (D. Ariz. 1997). Such a motion “demands a fact
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     specific and practical inquiry.” Camacho, 297 F.R.D. at 461 (internal quotations and
26
     citations omitted).
27
            Defendants argue that Plaintiff’s Complaint should be dismissed because the
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     Union is an indispensable party that Plaintiff failed to name as a defendant. Defendants

                                                    -7-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 8 of 10



 1   contend that because the Union was a party to the Memorandum Agreement that Plaintiff
 2   is challenging, the Union is an indispensable party. Defendants reiterate in their Reply
 3   that the Complaint should be dismissed because Plaintiff failed to name the Union, an
 4   indispensable party, as a defendant. Plaintiff relies on legal authority supporting the
 5   principle that parties to a contract are indispensable in an action that challenges the
 6   contract.
 7          Defendants’ argument, however, falls short. As the above authority demonstrates,
 8   failure to join an indispensable party can only lead to dismissal if the court cannot obtain
 9   jurisdiction over the necessary party or if the court determines that joinder would destroy
10   jurisdiction. Here, that standard is not satisfied. Defendants concede that the Union
11   “operates in Arizona [ ], is subject to service of process and its joinder would not affect

12   subject matter jurisdiction because Plaintiff’s allegations against the [Union] would be

13   the same as against the existing Defendants.” (Doc. 14 at 8). Thus, even if the Court

14   were to determine the Union is an indispensable party, Defendants have not satisfied the

15   requirements for dismissal of the action under Rule 12(b)(7). The motion to dismiss on

16   that basis will therefore be denied.
            B. Preemption
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            Next, Defendants seek dismissal of Plaintiff’s second and third claims for relief
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     pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure based on preemption.
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     A motion to dismiss pursuant to Rule 12(b)(6) challenges the legal sufficiency of a
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     complaint. Ileto v. Glock, Inc., 349 F.3d 1191, 1199-1200 (9th Cir. 2003). A complaint
21
     must contain a “short and plain statement showing that the pleader is entitled to relief.”
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     Fed.R.Civ.P. 8(a). The Court must interpret the facts alleged in the complaint in the light
23
     most favorable to the plaintiff, while also accepting all well-pleaded factual allegations as
24
     true. Shwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000).
25
            Section 301 of the LMRA, 29 U.S.C. § 185, “preempts all state-law causes of
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     action evaluation of which requires interpretation of a labor contract’s terms.” Miller v.
27
     AT & T Network Systems, 850 F.2d 543, 545 (9th Cir. 1988) (citing Allis-Chalmers Corp.
28
     v. Lueck, 471 U.S. 202, 213 (1985)). However, “[i]f a court can uphold state rights


                                                 -8-
      Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 9 of 10



 1   without interpreting the terms of a CBA, allowing suit base on the state rights does not
 2   undermine the purpose of section 301 preemption: guaranteeing uniform interpretation of
 3   terms in collective bargaining agreements.”        Miller, 850 F.2d at 545-546.           Thus,
 4   preemption depends on whether a state law claim “confers nonnegotiable state-law rights
 5   on employers or employees independent of any right established by contract, or, instead,
 6   whether evaluation of the tort claim is inextricably intertwined with consideration of the
 7   terms of the labor contract.” Allis-Chalmers Corp., 471 U.S. at 213.
 8
              “In deciding whether a state law is preempted under section 301,
 9          therefore, a court must consider: (1) whether the CBA contains provisions
            that govern the actions giving rise to a state claim, and if so, (2) whether the
10          state has articulated a standard sufficiently clear that the state claim can be
            evaluated without considering the overlapping provision of the CBA, and
11          (3) whether the state has shown an intent not to allow its prohibition to be
            altered or removed by private contract. A state law will be preempted only
12          if the answer to the first question is “yes,” and the answer to either the
            second or third is “no.”
13
     Miller, 850 F.2d at 545.
14
            Here, Defendants argue that Plaintiff’s second and third causes of action are
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     preempted by Section 301 of the LMRA. Defendants argue that Plaintiff’s second claim
16
     for relief based on the doctrine of reasonable expectations depends on reading and
17
     interpreting the Memorandum Agreement between Plaintiff and the Union. However, at
18
     least part of Plaintiff’s state law reasonable expectations claim is based on the course of
19   business over the years between Plaintiff and Defendants both before and after the
20   Memorandum Agreement was signed. (Doc. 1 at 5-6). Plaintiff is therefore basing its
21   reasonable expectations claim, at least in part, on the parties’ course of business, not on
22   the terms of the agreement.      Moreover, Defendants fail to fully analyze the Miller
23   considerations cited above and instead rely only on general standards for preemption
24   pursuant to Section 301. Defendants, for example, do not even address “whether the state
25   has shown an intent not to allow its prohibition to be altered or removed by private
26   contract.” See Miller, 850 F.2d at 545. Defendants’ limited analysis fails to establish
27   that Section 301 preempts Plaintiff’s claim for relief based on reasonable expectations.
28   Their request to dismiss this claim will be denied.


                                                 -9-
     Case 2:16-cv-03799-DJH Document 45 Filed 08/02/17 Page 10 of 10



 1          Defendants also argue preemption with regard to Plaintiff’s third cause of action,
 2   that Defendants are barred by the statute of limitations from demanding payments from
 3   Plaintiff. Defendants argue that determining when claims accrued requires consideration
 4   of the terms of the agreement. Again, however, the Court finds that Defendants have
 5   failed to demonstrate to the Court’s satisfaction that Plaintiff’s third cause of action
 6   should be dismissed on preemption grounds. Defendants failed to specifically address
 7   the Miller considerations as they pertain to this cause of action. Defendants’ very limited
 8   analysis is therefore insufficient for the Court to dismiss this claim.
 9          For the foregoing reasons,
10          IT IS ORDERED that Defendants’ Motion to Dismiss Pursuant to FRCP
11   12(b)(3), (6), (7), or, In the Alternative, to Stay Action (Doc. 14) is DENIED.

12          Dated this 2nd day of August, 2017.

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14
                                                    Honorable Diane J. Humetewa
15                                                  United States District Judge

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